

Gaulsh v Diefenbach PLLC (2021 NY Slip Op 02343)





Gaulsh v Diefenbach PLLC


2021 NY Slip Op 02343


Decided on April 15, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 15, 2021

Before: Renwick, J.P., Gische, Moulton, Mendez, JJ. 


Index No. 654346/15 Appeal No. 13600-13600A Case No. 2020-02624 

[*1]Sune Gaulsh, Plaintiff-Appellant,
vDiefenbach PLLC, Defendant-Respondent.


Sune Gaulsh, appellant pro se.
Diefenbach PLLC, New York (Gordon Price Diefenbach of counsel), for respondent.



Orders, Supreme Court, New York County (Barbara Jaffe, J.), entered on or about May 14, 2020, and on or about May 22, 2020, which, inter alia, granted defendant's motion for injunctive and related relief to the extent of enjoining plaintiff from conducting certain third-party discovery, and denied plaintiff's motion for discovery, unanimously affirmed, without costs.
Contrary to plaintiff's contention, the retainer agreement in question was an advance payment retainer, and defendant was permitted to place the retainer funds in its operating account (Ruberto v DeFilippo, 29 Misc 3d 1236[A], 2010 NY Slip Op 52170[U], *3-4 [Civ Ct, Richmond County 2010]).
In any event, the issue was moot, given that this Court had already granted plaintiff judgment on liability (Gaulsh v Diefenbach PLLC, 162 AD3d 585 [1st Dept 2018]).
Contrary to plaintiff's assertion, the record shows that defendant objected to the disclosure of its financial records. Because neither these records nor the bank records that plaintiff seeks with regard to defendant's IOLA account are relevant to this damages phase of the action, the court correctly denied plaintiff's motions to compel or obtain third-party discovery.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 15, 2021








